                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:13-cr-00204-MOC

UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
Vs.                                            )                        ORDER
                                               )
BOGGS PAVING, INC.                             )
CARL ANDREW BOGGS III                          )
KEVIN HICKS                                    )
GREG MILLER                                    )
GREG TUCKER                                    )
STYX CUTHBERTSON TRUCKING                      )
COMPANY, INC.                                  )
JOHN CUTHBERTSON                               )
ARNOLD MANN,                                   )
                                               )
                Defendants.                    )



       THIS MATTER is before the court on review of pending motions in light of the pleas

entered and the dismissals taken by the government. Such review reveals that the following

motions, which the court held open at the request of the parties, are moot:

07/14/2014      view101 Joint MOTION to Dismiss the Superseding Indictment for Failure to
                        State Offenses and Incorporated Memorandum of Law by Boggs
                        Paving, Inc., Carl Andrew Boggs, III, Greg Miller, Styx Cuthbertson
                        Trucking Company, Inc., John Cuthbertson as to Boggs Paving, Inc.,
                        Carl Andrew Boggs, III, Kevin Hicks, Greg Miller, Greg Tucker,
                        Styx Cuthbertson Trucking Company, Inc., John Cuthbertson, Arnold
                        Mann. Responses due by 7/24/2014 (Black, Roy) (Entered:
                        07/14/2014)
07/14/2014      view102 Joint MOTION for Disclosure or In Camera Review of Grand Jury
                        Transcripts by Boggs Paving, Inc., Carl Andrew Boggs, III, Greg
                        Miller, Styx Cuthbertson Trucking Company, Inc., John Cuthbertson
                        as to Boggs Paving, Inc., Carl Andrew Boggs, III, Kevin Hicks, Greg
                        Miller, Greg Tucker, Styx Cuthbertson Trucking Company, Inc., John
                        Cuthbertson, Arnold Mann. Responses due by 7/24/2014 (Black,



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                          Roy) (Entered: 07/14/2014)
07/14/2014      view103 Joint MOTION to Dismiss , Strike and/or Exclude Evidence and
                        Incorporated Memorandum of Law by Boggs Paving, Inc., Carl
                        Andrew Boggs, III, Greg Miller, Styx Cuthbertson Trucking
                        Company, Inc., John Cuthbertson as to Boggs Paving, Inc., Carl
                        Andrew Boggs, III, Kevin Hicks, Greg Miller, Greg Tucker, Styx
                        Cuthbertson Trucking Company, Inc., John Cuthbertson, Arnold
                        Mann. Responses due by 7/24/2014 (Attachments: # 1 Exhibit, # 2
                        Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit,
                        # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit) (Black, Roy)
                        (Entered: 07/14/2014)


       Having considered such motions, the court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that motions docketed as numbers 101, 102, and 103

are DENIED as MOOT.




 Signed: March 11, 2015




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